                                                                                                                                              PLO-Pt-001
     Case 3:11-md-02244-K Document 1261 Filed 10/11/22
 ATIORNEY OR PARTY WIIHOUI AflORNEYIN.4 9.T. BJ nufrh!. .N
                                                                                                             Page 1 of 14 FOR
                                                                                                                            PageID      47840
                                                                                                                              COUR| USE OrlLf

   Gary L. Chambers, Esq. 86076 'ddA'T)
     CHAMBERS                6    NORONHA
    2070 North Tustin Avenue
    Santa Ana, Cali fornia 92705
 rELEpxo E o 114,/558-1400                FAx No.or....u 714/558-0885

 E-MAI         rop.o.'n   g lchambe rs G cnlegalg rouP ' com
          FoR (N,r', P 1a int i f fS
       ^DoREss
 ^rroRxEY
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                ORANGE
       SIREEl                700 Civic cenLer Dri-ve west
                ^OORESS
                             santa Ana, california 92701
                             Central Justice Cen t er
      PLAINTIFF         MAR]LE ARACON; EODNEY                           ARAGON

     OEFENOANT:         JOHNSON                & JOHNSON, INC', DEPUY SYNTHES,
*"SEE ATTACHED FOR ADDITIONAL DEFENDANTS**
El ooes r ro 'I OO Tn.:l nsi
 coMPLAINT-Personal lnlury, Property Damage, Wrongful Death
     [Xl AMENDEO (Number): FirsL
 fype (check a thaa apply):
 n      MoToR vEHrcLE [\n oTHER (specify):                               Prcducts Lisb:]rt7
       E   Property oamage          E
                             wrongful ooalh
       Ef  Personal          lnjury Q
                             other Damages (sPecify):

 Jurisdiction (ch€ct a that sPPly):                                                                              CAS: NUMSER

 E    acloN ts A LtMtrEo ctvtL CASE
      Amount demanded I        does not excsed $10,000
                                           I
                              exceeds $1o,OOo, but does not exceed $25,000
El      ACTTON tS AN UNLIMITED CIVIL CASE (exce€ds S25,000)
l--I    ACTION ls REcLASSIFIEo by this amended complaint
       E        from limited to unlimited
       E        from uolimited to limited

1.   Pleinlill (name or names):                MARILE ARAGON, RODNEY                    ARAGON

     alleges causes of aclion againsl defendanl (name or names): JOHNSON                              6   JOHNSON, INC.   ,    DEPUY SYNTHES,
     **SEE ATTACIiE:r EOR .qDDITiOli.nL                                  DE   E':l'lDAl'lT   S   '*
2.   This pleading. including attachmenls and exhibits. consists of the following number of pages: N                   i ne
3.   Each plaintiff named above is a comp€tenl adult
     a.   El     except pleinlitl (name):
                 (1)  E a corporation quslified to do business in California
                 (2)  [ an unincorporated entity (descnDe)r
                 (3)  E a Public entitY (descdbe):
                  (4)E aminor I anadult
                        (a) Q for whom a guardian or conservalor of the estate or a guardian ad litem has been appoinled
                        (b) E other (speci,Y):
                  (5) E other (sPacirJr

     b.   E       except plainllfi (name):
                  (1)El          a corporation qualified to do business in Calilornia
                  (2)   E anpublic
                             unincorporated enlity (descrbe)i
                  (3)   E minorentity (descnba)r
                          a
                  (4)   E a for Irrt o,an adult
                                             guardian or conservator of lhe estate or a guardian ad litem has been
                                                                                                                   appointed
                                 ia)   E            "
                                 (b) E other (spec,tY)l
                  (5)   fl       other (speciry)

                                                               are not competent adulls is shown in Attachment
                                                                                                               3
f,l lnformation about additional plaintifrs             vYho
                                                                                                                                      cdr. d cMlPrdr..9:125   12
                                                               eoMPLAINT-Persona I lniury, ProPerty                                             ffi@drloca ar
                                                                   Damage, Wrongful Death
":'Hffifi*
                 r!:Hf"i::,,
                                    H          fjE#                                                                ARAGON,        MariIe
                                                                                                                 SUM.?OO
           Case 3:11-md-02244-K Document 1261 Filed 10/11/22                               Page 2 of 14 PageID 47841
     SHORT TITLE:

-         ARAGON          v.         JOHNSON     & JOHNSON, Ct A]                               30-2017-00955879

                                                         INSTRUCTIONS FOR USE
i     This lorm may be used as an attachmenl lo any summons it space does not permit the listing of all parties on the summons.
>     lf this attachment is used, insert the following slalement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form is attached.-

Li3t additionaf pa.1i€3 (Check only one box. Use a sepa'ata    pag@   lor each type of pady.)                                                      lt

E Ptaintiff El        E cross-complainant E Cross-Defendanl
                                     Defendant

DEPUY ORTHOPEDICS, INC., DEPUY MITEK, DEPUY PRODUCTS, INC.,                                                  DEPUY
INTERNATIOAL LIMITED, JOHNSON & JOHNSON SERVICES, INC., and                                                  DOES      1to
1OO,           I NCLUS I VE




                                                                                                                   Page       ol
                                                                                                                                   P.9. t ol   t
                                                                                                                          -        -
    Fdm   aeleo rd l/lt\o.to.' u'.                    AODITIONAL PARTIES ATTACHMENT
 .,#jffi^!f i,l,iff--,r                                    Athchment to Summons ARAGON             '
                                                                                                       Ma   ri   l-e
 /'ra' Ersontlal
 ffi          ;,1rom
                                                                                                                                     PLD.PI.OOl
      Case 3:11-md-02244-K Document 1261 Filed 10/11/22
    SHORT TITLE
                                                                                                  Page  3 of 14 PageID 47842
                                                                                                     CASE NUMAER

    ARAGON, et al.,  V. JOHNSON & JOHNSON et al.                                                     30-2017-00955879
4              Plainltll (name):
               is dorng business under the fictitious name (specify)


           and has complied with th€ ficlitious business name laws.
5.     Each derendant named above is a natural person                                                                  DEPUY ORTHOPEDI CS,
       a, E    ercept dsfe nda l(name): .IOHNSoN 6 JoliNSON,                   c [Xl   excapt defendanl (name):
                   INa.,       anC DOES       L r:o 10-1,     INCLUS:Va                ::::., dr.l t )ES I '-o -C0, lnclusive
                   (1)
                     E          a business organization, form unknown                  (1) E a busin€ss organization. form unknown
                   (2)
                     E          a corporalion                                          (2) f] a corporalion
                   (3)
                     f]         an unincorporated entity (descrbe).                    (3) E an unincorporated entity (descibe):
                   (4)   E      a public entily (descr.berl                            (4)   f]   a public entity (descflbe,)

                   (5)   E      other (specilyl                                        (5) T-l    other (spac,ry,)




                                                              SYNTHES                                                    PUY MrTEK' and
       b.    Et                                '
                   except defendant (name)TDEPUY                               d. @    except dele
                                                                                                     ^dant
                                                                                                             (name):DE
                   and DOES 1 to 100, Inclusive                                        DOES       1 to 100, Inclusive
                   (1) I        a business organization. form unknown                  (1) El     a business organization. form unknown
                   (2) [        a corporation                                          (2) E      a corporation
                   (3) El       an unincorporated enlity (dascnbe):                    (3) [      an unincorporaled entity (descrbg);

                   (4)   E      a public entily (descobe):                             (4)   D    a public entity (descnDe)

                   (5)   E      other (spec,ry/                                        (5)   E    other (spscryl




       E   lnformation about addilional defendants who are not natural persons is conlained in Altachment 5.
6      The lrue names of defendants sued as Does are unknown lo plaintiff.
       a. @ Doe defen danls {specify Ooe numbersJ; 1 - l 00, Tnr-l l,si ve wele lhe agents or employees ofother
                 named detendants and acted within the scope of lhat agency or employmenl.
       b. El     Doe deten danls (specify Ooe numbs/s) 1-100, T                          are persons whose capacities are unknown to
                    Plaintift.
7      El      Defendants who are joined under Code of Civil Procedure section 382 a.e (names)




8.      This court is the proper court because
        a E     at least one defendant now resides in its Jurisdrctional area
                                                                                              association i3 in its iurisdiclionsl area
        o Ei    tne principat place ot business ot a defendant corporalion or unincorporaled
                                                                                              area'
        c. Ei   iniury to person or damage to personal property occuned in its iurisdictional
        d. E        other (spocin:




                                                                         and
I [l            Plaintrtf is required to comply with a claims stalute
                   nas comptied with applicable claims statutes
                                                                      or
        a    [t                                            (sp€cify)r
        b.   I     is excused from complying because




                [Rti JtltY   1 2m7l                      CoMPLAINt-Person al lniury, Property
    PLD.PI&1
               Essential
                                                             Damage, Wrongful Death                      ARAGON,         Marile
    CtB         . Forms
                                                                                                                                           PLD-PI.OO1
          Case   3:11-md-02244-K Document 1261 Filed 10/11/22                                            Page   4 of 14 PageID 47843
                                                                                                            CASE NUMEER
    SHORT  TITLEI
    ARAGON,               et a}., V.           JOHNSON           &   JOHNSON,        Et AI.,                30-2017-00955879
                 Plainlilf (nome) :
                 is doing business under ths tictitious nama (specily)
                                                                                                                              Page Three

            and has complied with the fictilious business name laws
5      Each defendant named above is a natural person                                                                     JOHNSON      &   JOHNSON
       a. E         excePt defendanl (nama) L:a.:.1a           ail:11-)9!." I li:.    c   E   excopl defendanl (name):
                                                                                              Sa:r:alEs, :lla. / 3f,1 ?CtS 1-1!!, Inclus.!re
                    (1) E        a business organizalion, form unknown                        (1) E      a business organization. form unknown
                    (2) El       a corporation                                                (2) El     a corporation
                    (3) l--l     an unincorporated entity (descibe):                          (3) I--l   an unincorporsted ontity (descnbd:

                    (4)    E     a Public entity (desc,,be)r                                  (4)   E    a public entity (descobe,

                    (5)    E     other (speciI,                                               (5)   E    other (spec,/,




                                                               TNTERNATT0NAL
       b. [l        except defendant 1name,1.pEP0Y                                    d. f]   except defendanl (name)
                    L:MITED, and IOES l-1C0, I:1clrsive
                    (1) El a business organizalion, form unknown                              (1)   E    a business organization. form unknown
                    (2) [ a corPoration                                                       (2)   E    a corporation
                    (3) E an unincorporated entity (descnbe)r                                 (3)   E    an unincorporated entily (describe):


                    (4)    B     a public entity (descnbe):                                   (4)   E    a public entity (descnbe)


                    (5)    f-l   other (speciry)                                              (5) [--l   olher (specio]




        E   lnlormation aboul additional defendants who are not natural persons is contained in Atlachment 5
6       The true names of defendants sued as Ooes are unknown lo plaintiff'
        a. f,] Doe defen daols (specify Doe numbe$):                                      were the agents or employees of other
                  named defendants and acted within the scoDe of that agency or employment.
        b. E Doe defen danls (specify Ooe numbars).                                       are persons whose capacities are unknown to
                      plainliff.
                                                                                        (names)
7       E        Oefendants who are joined under Code ol Civil Procedure section 382 a@




L       This court is lhe proper court because
                                                                         area'
        a.  E   at least one defeodant now resides in its lurisdiclional
                                                                corporation  or unincorporat€d association is in ils iurisdiclional area
        u.  E   in" prin"iprr plsce of business of a defendant
                                                         property occurred in its jurisdictional area'
        c.  E   iniury to person or damage to personal
         d. O        other (sPecifY):




                                                                 statute' and
I        T-l      Plarntrtf is required to comply with a claims
         I-f-l       nas comolied with applicable    claims  statutes'  or
                                   t,om complving because    (speciry)r
         i.   fi     ,s
                          "*rr"o


                                                                                              Property
                                                          COMPLA INT-Persona I lniury,
                 lRe Jsr,n !     ?@7i
                                                                                                                ARAGON, Mari         Ie
                                                              Da mage, Wron gful Death
    PLO-PI.OO.

    /'rn'Ela€ntlal
    Y"H, ne-s
                                                                                                                                                        PLO.PT{01
     Case 3:11-md-02244-K Document 1261 Filed 10/11/22 Page 5 of 14 PageID 47844
 SHORT TITLE:
 ,qR.AGON, e-! aI., v JOHNSON & JOHNSON, et al.,xxx       30-2017-009s5879
10.     The following causes of action are attached and tho statemenls above apply lo each (each complainl must have one or more
        causes ol eclian           altachad):                                                                             Four                Page
        a       E Motor vehicle
        b.      E General Negligenca
        c.      E        lntentionalTort
        d.      El       Products Liability
        e.      E        Premises Liability
        f.      E        Other (specify.)      :




11      Plaintifl has suffered
        a.      [l wage loss
        b.      El bss of use ofproperty
        c.      El hospilal and medical exponsgs
        d.      [l general damage
        e.      [l property damage
        f.      El bssof eaming capacity E,-
                                                             L;xemplary Damages;
        g.      Ei       ottrer dama      si (speafvi,
                         By reason of the said injuries suffered and sustained by
                         plaintj.f f 's wife, plaintiff has been deprived of love,
                         companionship, affection, society, sexual relations, and solace
                         of said wife, all to plaintiff's                                          further        darnage.

12.     E The damages claimed for wrongful death and the relationships of plaintiff lo lhe deceased are
        a. Q tisteo in Attachment 12.
        b. I as follows;




13.     The reliel sought in            tiis complaint      is within the jurisdiction of this court




14      Pl.intiffpreysforjudgmenlforcostsofsuit;'orsuchreli8fasisfair,jUst,andequitable:andfor
        a.       (t)    El
                        compensatory damages
                 (2)    El
                        punitive damages
                                                                                           you must check (1)):
                 The amount of damages is (,n cases ,orp ersonal iniury or wrcnglul dealh'
                 (1)    El
                        accordang to Proof
                 (2)    E
                        in the amount of: $
                                                                                                                pursuant to              Section 3291'
                Jucigment           for prejudgnen' intelest at 10t per                                annum                     CC
                                                                                     are as follows (specify paog'u,ph numbars):
15.     T1          The;aragraphs ofihis complaint alteged on information and belief




oate:      SePtember 30, 2A22
 CA RY          T        C    AMB ERS                                                        )                            Of PL INII'F   OR AITORNEY)
                                        {TYP€ OR PRINI N,J'/|E)
                                                                                                              Property                                     xxxlQxr !
 PlD   Pr']I   IRev    Jai!.q I 2lo:j                                 COMPLAI NT-Personal I               ,

 / rD          Essenllal
                                                                          Dam age, Wrongful D                            ARAGON, Mar.iIe
 hH Fro*"'
                                                                                                                                           PLO-Pt-001 5
  Case 3:11-md-02244-K Document 1261 Filed 10/11/22
SHORT TITLE:
                                                                                              Page CASE
                                                                                                   6 ofNUMSER
                                                                                                         14 PageID 47845
ARAGON,          et al.,              v.   JOHNSON         & JOHNSON, et

       ET RST                                     CAUSE OF ACTION- Products Liability                                         Page
             (number)
   ATTACHMENT TO             E
                          Complaint                E
                                            Cross-Complaint
   (Use a separate causg ol acton fotm lor each cause ol aclign.)


   Ptair,titt   (name):     MARILE ARAGON, RODNEY                      ARAGOh*

   Prod. L-1.     Onorabout(dato):January                   4, 2011           plaintiffwas iniured by the follor.ring producl:

                  **SEE ATTACHMENT PROD. L-1T *


   Prod. L-2. Each of lhe defendants knew lhe producl would be purchased and used without inspeclion for defecls. The
              producl was deleclive when rl lelt lhe control of each defendant. The product 8t the time ot iniury was
                 being
                 Eused in the manner intended by the defendants.
                 El
                  used in a manner that was reasonably foreseeable by defendants as involving a substantial danger not
                  readily apparenl. Adequate warnings of the danger were not giYen.
   Prod. L-3. Plaintiff was a
             El purchaser of the product.                                   El user of lhe producl.
             D bystander lo the use of the producl                          E olhet (specify):
   PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULI OF THE FOLLOWING:
   Prod. 1.4. [l Count One-Strict liability of the following defendanls who
                 a. El manufactured or assembled the prodlcl (names) :
                                    JOHNSON & JOHNSON, INC., DSPUY SYTHES,
                                    "*SEE ATTACHED FOR ADDITIONAL DEFENDANTS**
                                            @   Does               to l     oo.       lncfusive
                       b.   [f      designed and manufactured component pa.ts supplied to the manufacturet (names)
                                    JOHNSON & JOHNSON, INC., DEPUY SYTHES,
                                    **SEE ATTACHED FOR ADDITIONAL DEFENDANTS**
                                            El Does                   lo    100.      Inclusive
                       c.   E       sold the product lo the public(names)
                                    JOHNSON & JOHNSON, INC., DEPUY SYTHES,
                                    "*SEE ATTACHED FOR ADDITIONAL DEFENDANTST*
                                         lTl ooes 1    to l-0-0.,-Inclusi-ve
   prod. 1.5.    El      Count Two-Negligsnce ol the following delendants who owed a duty to plaintiff (nrmes)          :



                       JOHNSON & JOHNSON, INC., DEPUY SYTHES,
                       **SEE ATTACHED EOR ADDITIONAL DEFENDANTS**
                                    El ooes                 to 1l!-I         nc 1us i ve
   pro6. g.6.    [Yl   Count Throe-Breach of waranty by the following defendants (na'nes):
                       JOHNSCI.] & JCHNSON, 1NC., DEPUY SYTHES,
                       **SEE ATTACHED FOR ADDITIONAL DEFENDANTS**
                                            E o*t             1        to   1oo,      lnclusive
                       a.   [l  who breached an implied warranty
                         b. El   who breached an expross warranty which was
                                    [l written     [loral
                                                                                                                         lity are
    Prod.   L-7.f-l      The dei;ndants    wto     i[
                                                    tiaute to plaintifls for other reasons and the reasons for the liabi
                       I     tisted in ntractrment-Prod' L-7      Q    as follows:




                                                                                                                            c..r.   oa   cMl Pro6dr.. ! 425   12
                                                                                                                                           ffi @anbqout
    Fm  Aoc,ov.d lc, OPI'..!| Ur.
    Jud€l,l C!{rt,r ol C.I o.",.
                             ,.
                                                        CAUSE OF ACTION - Products Liability
  PlDfl4ol(s)lRd J.ra6ty 1 lw/l                                                                      ARAGON,         Marile
  /'rn'  Esa€artld
            'rForm!
  }![
        Case 3:11-md-02244-K Document 1261 Filed 10/11/22                                 Page 7 of 14 PageID 47846
                                                                                                                S
    SHORT TITLE:

-      ARAGON          v.        JOHNSON   & JOHNSON, et al                                   30-201?-00955879

                                                        INSTRUCTIONS FOR USE
,      This lorm may be used as an anachment to any summons if space does not permil the lisling of all parties on lhe summons.
>      lf this allachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

Lllt additional partios (Check only one Dox. Use a sepsrate page    tor each type ol pady.)


f] Ptalnt,ff E Defendant fl                   Cross-Complarnant    E    Cross-Detendanl

DEPUY ORTHOPEDICS, INC., DEPUY MITEK, DEPUY PRODUCTS, INC., DE PUY
INTERNATIOAL LIMITED, JOHNSON & JOHNSON SERVICES, INC., ANd DOES 1to
1OO, ]NCLUSIVE

                                                                    \




                                                                                                                Page-        ol

                                                                                                                                  -
 Fdm   A6i.d td iL.dalo.y ut                    AODITIONAL PARTIES ATTACHMENT
    r-dc'.| coud ol c.l'lsdr
                          I                            Attachment to    Summons         ARAGON        Mari   le
suii.ioqer lno' J.ru!,y       2m7l                                                                '
   ! a'
/\.Ll)    Essenltral
           ,-Folms.
        Case 3:11-md-02244-K Document 1261 Filed 10/11/22                               Page 8 of 14 PageID 47847MC-025
 SHORT TITLE:                                                                           CAS: NIJMEER
-ARAGON, et a].,              v.   JOHNSON        e JOHNSON, et aI.,

                                               ATTACHMENT (Numbet):
                                   (This Attachmenl may be used wilh any Judicial Council form.)

FIRST CAUSE OE ACTION - PRODUCTS LIABIITY -                                                         Pase Six
ATATCHMENT TO COMPLAINT

PRoD.         L-1 cont inued:
At a:I times herein mentioned, defendants, JOHNSON & JoHNSON, INC.,
DEPUY SYNTHES, DEPUY ORTHOPEDICS, INC., DEPUY NIITEK, DEPUY PRODUCTS,
INC., DEPUY INTERNATIONAL LIMITED, JOHNSON & JOHNSON SERVICES, INC.,
and DoES 1 to 100, Inclusive, and each of them, owned, maintained,
serviced, leased. repaired, licensed. manufactured, distrj-buted,
wholesa]ed, marketed. designed, sold and supplied component parts for
the Depuy Pinnacl,e Grip-Cup 56.
On or about the 4th day of January, 201.7, the aforementioned product (s)
was in use having been surgically placed on December 28, 20L2.
At said time and place and while the product (s) were being used in a
reasonably foreseeable manner, said products failed and the plaj.ntiff,
MARIIE ARAGON, was injured as a direct and proxj-mate result thereof,
resulting in severe and serious injury to her person, all' to her damage
in a sum Hitnin the jurisdictj.on of this court, and Eo be shown
according to proof.
The dj.rect and proximate cause of said failure and pJ,aintif f 's injury
was a defect in the design, manufacture, production, and installation
of said product (s ) .
The direct and proximate cause of the failure of said product (s) was
the negligence, carelessness, unlawfuJ'ness, recklessness, and
wantoniesi of t.he defendants, and each of them, in the manner in which
they designed, manufactured, marketed, distributed, installed,
LnspecteO, purchased, mainta.ined. controll-ed, and handled said
product s .




                                                                                                                   Pago       ot
                                                       penalty ol petiury, all statemants in this
 (!l   ilem lhal this Aftachment concems is made under
       lhe                                                                                                     (Add pages as nquircd)
                                       perjury')                                                                          -        -
 Aftachment are made undet penally ol

Fm A.o.ov.o  to. oB'o.[l Ue
                                                            ATTACHMENT
 ru6,o, Colnor ol CC'lo'd.                            toJ udicial Council    Form
  MC{?slRlv JurY t ?0091                                                                       ARAGoN,    MariIe
ca' Ess€ntial
    f Forms
(ab.(om
        Case 3:11-md-02244-K Document 1261 Filed 10/11/22                                   Page 9 of 14 PageID 47848
                                                                                                                 PLD-PI4OI
   SHORT TITLE:
   ARAGON,            er al., v.              JOHNSON     &   JOHNSON,     er                            30-2017-00955879

                                                      Exemplary Damages Attachment                                     Page Sewen

         ATTACHMENTTO                   ElComplainl   Ecross-Complaint

         EX-1. As additional damages againsl defendanl (name)l
                 JOHNSON & JOHNSON. INC., DEPUY SYNTHES,
                 ".SEE ATTACHED FOR ADDITIONAL DEEENDANTS**
                 Plaintiff alleges defendant was guilty of
                 [l   malice
                 El  kauo
                 S   oppression
                 as delined in Civil Code section 3294, and plainliff should recover, in addition lo actual damages, damages
                 lo mak6 an example of and to punish defendant.


         EX-2. The facts supporllng plaintiffs claim are as follows;
                 PIainLiff, MARILE ARAGON, incorporates by reference th e
                 allegati.ons contained in the First Cause of Action, an de ach and
                 every par! thereofj with the same force and effect as t hou gh set
                 cu: aL IengCh here n.
                 At al-l- times herein mentioned, defendants, JOHNSON & JoHNSON,
                 INC., DEPUY SYNTHES, DEPUY ORTHOPEDICS. INC., DEPUY MITEK, DEPUY
                 PRODUCTS, INC., DEPUY INTERNATIONAL LIMITED, JOHNSON & JOHNSON
                 SERVICES, INC., and DOES 1 through 100, Inclusive, owned,
                 maintained, serviced, Ieased, repaired, licensed, manufactured,
                 CisEributed, wholesaled, marketed, ciesignated, and supplied
                 component parts for the Pinnacle                           hip replacement system placed
                 ln PIainI i ff, MARILE ARAGON.
                 At said time and place and while the plaintiff was using said
                 product in a reasonably foreseeable manner, said Product failed
                 :rnd the plaintiff,   MARILE ARAGON, was iniured as a direct and
                 proximata result of thereof, result.ing in severe and serious
                 Lniurv to her person, all to her damage in a sum within the
                 ;uiisdiction oi this court, and to be shown according to proof'
                 The direcE and proximate cause of said failure and plaintiff's
                 j-niurv was a defect in the design, manufacture, production, and
                 in3tailation of said product .
                 The direct and Pro ximate cause of the failure cf said product
                 was the neg] igence , ca re l- e s snes s, unlawfulness,   reck.l-essnes5,
                                                                                  in t.he
                 and wantonness of ihe defendanEs, and each ofmaLhem,       keted,
                 manner in which th ev desiqned,         manufactured,    r
                 distribuEed, i-nst a iiea, i- ispect ed, purchased, maintained,
                 controlled and han dled said Product.




          Ex-3    The amount of exemplary damages sought is
                                                                       section 425 '10
                  a.  Elnot shown, pursuant to Code of Civil Procedure
                  bfls
                                                                                                                         coo d   cMr   Pt!..dJ.. l'2! t2
                                                         Exemplary Damages Attachment                                                  M   r',,nnlo   ..   oor
 Fm Ae.c!.d ltt OPUo.d UB
  r,]d'o, Co,rxll ol Cdnsfr.----.
PLO   Pl4l(6llR.v J.u, I
                            'IrJ/
                                    |
                                                                                                  ARAGoN,        Ma   ri le
rra'     Er.arllal
H        iaForm'
                                                                                                              SUM-2OO
        Case 3:11-md-02244-K Document 1261 Filed 10/11/22                               Page 10 of 14 PageID 47849
     SHORT TITLE:                                                                            CASE IIUMSER


-      ARAGON            v. JoHNSON & JOHNSON, et aI                                        30-2017-00955879

                                                        INSTRUCTIONS FOR USE
,      Thas  form may be used as an altachment to any summons if space does not permit the listing ot 8ll parlies on the summons.
;      tf this altachmenl is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

List addltlonal gaiiea (Check o,lly one box. Use a separate page lor eech lype ol pady.),

I      euintiff E     E cross-Complainanl I Cross-Defendant
                                oefendant

DEPUY ORTHOPEDICS, INC.. DEPUY MlTEK, DEPUY PRODUCTS, INC,,                                                 DEPUY
INTERNATIOAL LIMITED, JOHNSON & JOHNSON SERVICES, INC.. and                                                 DOES    L to
1OO,          INCLUS ]VE




                                                                                                                Page          of

                                                                                                                       -           -
    Fdm Arooro   ld Mrrd.lo.y Ul.               ADDITIONAL PARTIES ATTACHMENT
    sufffi^!hT';1,:3fl;m?r                            Attachment to Summons ARAGON'
                                                                                                       MariIe
           Essential
    CiB     . Forms
        Case 3:11-md-02244-K Document 1261 Filed 10/11/22                                  Page 11 of 14 PageID 47850MC-025
 SHORT TITLE:
-ARAGON, eT af.,                   v.   JOHNSON        & JOHNSON, eT a},                    30-201?-00955879

                                                    ATTACHMENT (Number):
                                        (This Attachment may be used wilh any Judicial Council lotm.)
EXEMPLARY DAMAGES                   ATTACHMENT                                  -                PAgE Eight
Ex-2 continued:
The dangerous    condition created a reasonabLy foreseeabl.e risk of the
kind of injury which is hereafter alleged and the defendants, and each
of them, had actual knowledge of the existence of the condj.tion and
knew or should have known, of its dangerous character a sufficient time
prior to the aforesaid time and place to have taken measures against
the dangerous condition,
The defendants, JOHNSON & JOHNSON, INC.. DEPUY SYNTHES, DEPUY
ORTHOPEDICS, INC., DEPUY MITEK, DEPUY PRODUCTS, INC., DEPUY
INTERNATIONAL LIMITED, JOHNSON & JOHNSON SERVICES, INC., and DOES 1
through 100, Inclusive, and each of them, actually knew of the defect
and its dangerous nature and intentionally farLed to lrarn either
P.l"aintif f , MARILE ARAGON. cr her surgeons prior to the surgical
insertion intc Plaintj-ff. Said conduct was reckLess, wanton, illegal
and malicious and their malfeasance and nonfeasance justify the
awarding of pun it ive /exempla ry damages.
As a direct and proximate result.of the negligence, carefessness,
unlawfulness, recklessness, and wantonness and Lhe dangerous condition
created thereby, the follovring occurred: product failed requiring
another surgery and resulting in debilitating Iifelong injurj-es.
As a direct and proximate result of the negligence, carelessness,
recklessness, wanLonness and unlawfulness of defendants, and each of
them, and the resul,ting failure, as aforesaid, plaintiff, MARILE
ARAGoN, sustained severe and serious injury to her person, all to
plaintj.ff's damage in a sum within the jurisdi.ction of this court and
io be shown according Lo Proof.
By reason of the foregoing, this plaintiff has been required to employ
Lhe se rvices of hospitals, physicians, surgeonsT nurses and other
professional servicLs and plaintiff has been compelJ.ed to incurmedi'cal
expenses for ambulance se.ii..s,       rnedicines, x-rays, and other
supplies and i".rr""",   Pla j.nEif f  is informed and believes, and thereon
                                    cf
alIeges, tha t further services period  said nature wiII be required by
ptaint iff for in unpreaictable              in the future, all to the damage
of plaintiff rn an   imounE  to  be   shown  according to proof'




                                                               pedury' dll stalements io this                     Pag.        ot
 (lt                  ochment concems is nade unde( penalty ol
       the item lhal this     A                                                                               (Add pages as required)
 Attachmenl are made under penalty of
                                      periuy )                                                                         -        -
rdft   ADo.o!.a   ld Ori'ool Ul.                                ATTACHMENT
 rldoico(,torol C. o.t.                                    to Judicial Council Form
  MC.O25lRh Jvr, I 2e9l                                                                           ARAGoN,   Marile
/'!-n'      Essential
hH llro-t'
       Case 3:11-md-02244-K Document 1261 Filed 10/11/22                             Page 12 of 14 PageID 47851MC-025
SHORT TITLE:
.ARAGON/ Et A1., \/. JOHNSON & JOHNSON.                             CT                30-2017-00955879

                                               ATTACHiIENT (NumboO       :
                                   (This Atldchmeol may be used with any Judicidl Council fom.)

EXEMPLARY DAMAGES                 ATTACHMENT                                 -             PA9E Nj-NE

Ex-2 cont i nued:

At. the time of the injury, as aforesaid, plaintiff, MARILE ARAGoN, was
regularly and gainfully employed; by reason of the foregoing, plaintiff
hai been unable to engage in her employment for a time subsequent to
said accident anC plaintiff is .informed and believes. and upon such
information and belief, alLeges that she wiLl- be unable to work in her
sai-d emplo),rnent for an indefinite period in the future, thereby
suffering a loss of earning capacity, a]l to plaintiff's damaqe in an
amount to be shown according to proof.
DefendanIs, JOHNSON & JOHNSON, INC', DEPUY SYNTHES, DEPUY ORTHOPEDICS,
INC., DEPUY MITEK, DEPUY PRODUCTS, INC.. DEPUY INTERNATIONAL LIMITED,
JOiINSCN & .IOHNSON SERVICES, 1NC., and DOES 1 through 100, Inclusive,
did the things herein alleged wiih an inEenEional, reckless and wanton
dj.sregard of the safety of plaintiff, and said acts were done
maliciously and oppressively. Plaintiff is Eherefore enLitled to
exempJ,ary or punitive damages in an amount to be shown according to
proof.
By reason of the said inSuries suffered and sustained by plaintiff's
wife, plaintiff has been Ceprived of love, companionship, affection,
society, sexua 1 .eiations, and so-ace of nis ;vrf e, all to plaintiff's
further            damage.




                                                                                        in lhis                        Pago        of
   the iom thal this Altachmenl concems
 lll                                    $ nade undet panally ol periury' all slslenents                        (Add pages as rcguircd)
 Anachment ae made under penally ol
                                      periury )                                                                                -        -
                ro. oPldl.L lJ*
                                                           ATTACHMENT
Fm Alord.d
 Jdrc,.i Co,.,c,1 ol Crr{ga?                          to Judicial Council Form
  MCO25lR.v Jult t 2u!l                                                                      ARAGoN   ,   Ma   r   i- I'   e
       Essential
CM
(.h(om tfurms'
Case 3:11-md-02244-K Document 1261 Filed 10/11/22                 Page 13 of 14 PageID 47852



                                      PROOF OF SERVICE

        I am employed in the County of orange, State of California;
   I am over the age of 18 and not a party to the within actioni my
   business address is 2070 North Tustin, Santa Ana. CA 92105-18?1                      -



        Cn SepteEbec 30, 2022, I sen'ed the foreEoing; st !'lMoNs oN
   FIRST NIENDED COMPIAINT ATD FIRSI A}TENDED COMPI.AIUT ; on the
   interested parEies as fol lows:
   )o(                placing true copies thereof enclosed in sealed
         BJ--t,!.C-i!: By
         envelope (s) with postage thereon fully prepaid, in the
         United States mail at SanLa Ana, California as follows:
             vern                I caused such envelope (s) to be
         delivered via "nexE day" delivery to the fol lowing
         addressee {s)      :


         BV    sjrnrl-q: By causing said documents to be transmiEted by
              Eae
         Iacsimile machine to the number lndicated after the
         add!ess    (es) set forth        below:
               ETSCN          I caused such envelope (s) to
                                v1c                                            be
         delivered by hand to the fol Iowing addressee(s):
   to(   ONLY BY ELECTRONI C          TRAI'I SM I S STON       OnIy by e-mailing the
         document (s) to the persons at the e-mail address (es) listed
         based on notice provided on March 18, 2020 that, during the
         Coronavirus (Covid-19) pandemic, this office will be working
         renclely, not. able to send physica] mail as usual, and is
         therefore using onJ-y electronic mails. No electronic
         message or other indication that the transmission was
         unsuciessful was received within a reasonable time after the
         transmission.
   **PLEASE SEE ATTACHED SERVICE LIST*"

          I am "readily familiar" with Lhe firm's practice ofUnder that
                                               for mailing'
   collection and processing correspondenceunited
   pri"ci". it wouid be deposited wrth the.             states postar
                                                                      t
   serviceonthatsamedaywithposEagelhereonfullyprepaida
                                                     of  business'  r
   ;;;i;-Atr, carifornia Ln ttre oidit'ary courseservice is presumed
                                                                      am

   ir"." tt,"i on motion of the party seived,
                                          or postage meter -date.is more
   ini'ir,-a if postal cancellatj-tn datefor mailing in af f idavj-t'
   ;;";-;;. ca!' after date of deposit
                                              u nde r the laws of the
          I declare under penalty of perjury
                                           Lrue an d correct. Executed
   State of California che foregoing is Calif   ot
   on i"pt"rU"" 30, 2022 at Santa Ana'


                                                           C    s williams
Case 3:11-md-02244-K Document 1261 Filed 10/11/22   Page 14 of 14 PageID 47853



                                     SERVICE LIST


    Terri L. Bruksch,     Esq.
    BARNES   6   THORNBURG LLP
    11 South Meridian Street
    Indianapolis, IN 46204
    311 /23r-1246
    EmaiI:     ri. br    b I     w
    Attorneys for Defendants
